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                          UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
______________________________________
                                            :
Harry Siers,                                :
                                            :
                     Plaintiff,             : Civil Action No.: 1:13-cv-02948-JBS-KMW
       v.                                   :
                                            :                                                      (
Enhanced Recovery Company, LLC; and         :
DOES 1-10, inclusive,                       :                                                      (
                                            :                                                      D
                     Defendant.             :                                                      R
______________________________________ :                                                           H
                                            :
                           JOINT STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby discontinued against Enhanced Recovery Company, LLC and Does 1-10, inclusive,

and request the Court to enter an Order Dismissing this case, with prejudice, with each party to

bear his or its own respective costs.

 Harry Siers                                   Enhanced Recovery Company, LLC

 ___/s/ Sofia Balile__________                 __/s Laura A. Laughlin______________

 Sofia Balile, Esq.                            Laura A. Laughlin, Esq.
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 (203) 653-2250                                Attorneys for Defendants
 Attorney for Plaintiff
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_____________________________
SO ORDERED




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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 29, 2013, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the District of
New Jersey Electronic Document Filing System (ECF) and that the document is available on the
ECF system.
                                              By_/s/ Sofia Balile_________
                                                   Sofia Balile
